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UN|TED STATES BANKRUPTCY COURT
NORTHERN DlSTRlCT OF FLOR|DA

PENSACOLA DlV|Sl0N
|n Re: Case No.: 17-30759-KKS
PATEL, PANKAJ L Chapter: 7
PATEL, JVOTlBEN H,
DEBTOR(S).

/

TRUSTEE’S REPORT AMJ NQT|CE OF lNTENTlON TO
SELL_. PROP§RTY OF THE E_STAT§ AT AUCT|ON

TO: Debtor(s), Creditors, and Parties in interest

 

 

NOT|CE OF OPPORTUN|TY TO
OBJECT AND REQUEST FOR HEAR|NG

Pursuant to Loca| Rule 2002-2, the Court will consider the relief
requested in this paper without further notice or hearing unless a party in
interest files a response within twenty-one (21) days from the date set forth
on the proof of service plus an additional three days for service if any party
was served by U.S. |\/|ail, or such other period as may be specified in Fed. R.
Bankr.P. 9006(f).

|f you object to the relief requested in this paper, you must file an
objection or response electronically with the C|erk of the Court or by mail at
110 E. Park Avenue, Suite 100, Ta|lahassee, FL 32301, and serve a copy
on the Trustee, l\/lary W. Colon, Trustee, P. O. Box 14596, Tallahassee, FL
32317, and any other appropriate person within the time allowed. lf you file
and serve a response within the time permitted, the Court will either
schedule and notify you of a hearing or consider the response and grant or
deny the relief requested Without a hearing.

lf you do not file a response within the time permitted, the Court will
consider that you do not oppose the relief request in the paper, will proceed
to consider the paper without further notice or hearing, and may grant the
relief requested

 

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NOT|CE lS HEREBY GlVEN that l\/lary W. Colon, Trustee of the
bankruptcy estate of the above-named debtor(s) intends to sell the
following property of the referenced bankruptcy estate under the terms and
conditions set forth below:

TlME, PLACE AND DATE OF AUCT|ON: Beginning at 10:00 A.M.
EASTERN T|ME on Saturdav. November 25 2017 at Shuler & Shuler
Rea| Estate Auctioneers, |nc., 422 Julia St., Titusville, F|orida 32796.
(Contact Auctioneer at (321) 267-8563 or soldfor@soldfor.com for
directions or Www.soldfor.com).

Description
of Property :

 

interest of Debtors in approximately 2.107 acre
commercial lot on Hwy 87 South, l\/lilton County, FL
32583-0000, identified as Santa Rosa County
Property |D No. 09-1N-27-0000-01204-0000,
described as:

PARCEL A:

Commence at the Northwest corner of Section 9,
Township 1 North, Range 27 West, Santa Rosa
County, Florida; thence go South 00 degrees 00
minutes 00 seconds East along the West line of
said Section 9 a distance of 1530.00 feet; thence
departing said West line, go North 90 degrees 00
minutes 00 seconds East 703.00 feet to the Point of
Beginning; thence continue North 90 degrees 00
minutes 00 seconds East a distance of 460.41 feet
to the Easterly line of a 300.00 foot wide Gulf Power
Easement; thence go North 41 degrees 08 minutes
05 seconds West along said Easterly line a distance
of 341 .23 feet; thence departing said Easterly line,
go South 90 degrees 00 minutes 00 seconds West
a distance of 253.94 feet; thence go South 00
degrees 00 minutes 00 seconds East a distance of
257.00 feet to the Point of Beginning. The above
described parcel of land is situated in Section 9,
Township 1 North, Range 27 West, Santa Rosa
County, F|orida and contains 2.05 acres.

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Lien on title of $zero to be paid from
proceeds of sale and pursuant to Court Order.

l\/lanner of Sale: Public auction by Shuler & Shuler Real Estate

Auctioneers, |nc., 422 Julia St., Titusvi|le, F|orida
(321) 267-8563

Terms of Sale: Cash basis only at auction; property to be sold §
|$.`»l WHERE |S no warrant_ies exgess or implied.

junless noted by Auctioneer). No Buyer’s
premium.

BUYER RESPONS|BLE FOR ALL TRANSFER
TAXES AND/OR FEES, OUTSTAND|NG LlENS,

AND PROPERTY TAXES.
(a)SaIe To: General Public
(b)Sale Price: Highest bidder(s) for cash.

(c) Lienors (if any): N/A

lf no objection is filed, the property identified will be sold to the highest
bidder.

RESPECTFULLY SUBM|TTED this October 17, 2017.

/s/ l\/|arv W. Colon

MARY w. coLoN
Chapter 7 Trustee

Florida Bar No.: 0184012
Post Office Box 14596
Tallahassee, F|orida 32317
(850) 241-0144

trustee@mag¢colon.com

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cERTlFchT§oFnglc§

| HEREBY CERT|FY THAT A TRUE AND CORRECT COPY OF THE
FOREGO|NG has been furnished by first class U.S. l\/lail with postage
prepaid to all persons on the Court’s mailing matrix by BK Attorney
Services, LLC d/b/a certificateofservice.com on October 17, 2017.

/S/ lVlarv W. Colc'>n
l\/|ARY W. COLON

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UN|TED STATES BANKRU PTCY COURT
NORTHERN DlSTRlCT OF FLOR|DA

|N RE: PATEL, PANKAJ L CASE NO: 17-30759-KKS

PATEL» JYOT'BEN H oEcLARATloN oF MA\L\NG
cERTlFchTE oF sEvacE

Chapter: 7

ECF Docket Reference No.
Judge:

Hearing Location:

Hearing Date:

Hearing Time:

Response Date:

 

 

On 10/17/2017, l did cause a copy of the following documents, described below,
Trustee's Report and Notice of intention to Sell Property of the Estate at Auction,
Notice of intent to Sell Propetty'of the Estate

to be served for delivery by the United States Posta| Servicel via First C|ass United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.

l caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Ofice, pursuant to Fed.R.

Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.

Parties who are participants in the Courts E|ectronic Noticing System ("NEF"), if any, were denoted as having been served
electronically witih the documents described herein per the ECF/PACER system.

DATED: 1 0/17/2017

ELMaMN._C_QLQn
Mary W. Colon 0184012

Mary W. Co|on, Trustee
P O Box 14596
Tallahassee, FL 32317
850 893 4105
janet@maryco|on.com

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UN|TED STATES BANKRUPTCY COURT
NORTHERN DlSTRlCT OF FLOR|DA

|N RE: PATEL, PANKAJ L CASE NO: 17-30759-KKS

PATEL' JYOT'BEN H cERTlFchTE oF sEvacE
oEcLARATioN oF MAn_lNG

Chapter: 7

ECF Docket Reference No.
Judge:

Hearing Location:

Hearing Date:

Hearing Time:

Response Date:

 

On 10/17/2017, a copy of the following documents, described belowl
Trustee's Report and Notice of intention to Sell Property of the Estate at Auction,
Notice of lntent to Sell Property of the Estate

were deposited for delivery by the United States Postal Service, via First C|ass United States Mai|, postage prepaid, with sufficient
postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth

herein.
The undersigned does hereby declare under penalty of perjury of the laws of the United States that l have served the above referenced

document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certiticate of Service and that it is
true and correct to the best of my knowledgel information, and belief.

DATED: 10/17/2017

H_

Jay S. Jump

BK Attorney Services, LLC

d/b/a certificateofservice.com for
Mary W. Colon, Trustee

Mary W. Colon

P 0 Box14596

Tallahassee, FL 32317

 

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PARTIES DESIGNATED AS "EXCLUDE" WERB NOT SBRVBD VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF S¥STEM

CASE INFO

l LABEL MATRIX FOR LOCAL NOTICING
11293

CASE 17~30759-KKS

NORTHERN DISTRICT OF FLORIDA
PENSACOLA

TUE OCT 17 13-20-31 EDT 2017

4 SHULER SHULER REAL ESTATE
AUCTIONEERS INC

422 JULIA STREET

TITUSVILLE FL 32796-3523

7 COHEN GOLDSTIEN GOTTLIEB LLP
LEE S GOLDSTIEN ESQ

990 HAMMOND DRIVE

STE 990

ATLANTA GA 30328-5519

10 DEKALB COUNTY CLERK OF COURT
556 N MCDONOUGH ST

15CV4427-9

DECATUR GA 30030~3355

13 DISCOVER BANK

DISCOVER PRODUCTS INC

PO BOX 3025

NEW ALBANY OHIO 43054-3025

16 EXPERIAN
475 ANTON RD
COSTA MESA CA 92626-7037

19 HOSPITALITY INTERNATIONAL INC
1726 MONTREAL CIRCLE STE 110
TUCKBR GA 30084~6820

22 SMALL BUSINESS ADMINISTRATION
801 TOM MARTIN DRIVE SUITE 120
BIRMINGHAM AL 35211'6424

25 TRANSUNION DISPUTES
PO BOX 900
WOODLYN PA 19094-0900

2 GULF WINDS FEDERAL CREDIT UNION
CO STEPHEN A ORSILLO

POST OFFICE BOX 3637

TALLAHASSEE FL 32315-3637

5 BANK OF AMERICA
4500 5 129TH AVE
STE 177

TULSA OK 74134

B CONSERVE
PO BOX 1528
FAIRPORT NY 14450-7528

11 INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATIONS
FO BOX 7346

PHILADELPHIA PA 19101~7346

14 DISCOVER CARD
PO BOX 71084
CHARLOTTE NC 28272-1084

17 GLOBAL CLIENT SOLUTIONS
4500 S 129TH EAST AVE

STE 177

TULSA OK 74134-5870

20 ISH HOSPITALITY LLC
8837 HWY 87 SOUTH
MILTON FL 32583-7530

23 SMALL BUSINESS ADMINISTRATION
PO BOX 740192
ATLANTA GA 30374-0192

26 UNITED BANK
PO BOX 8
ATMORE AL 36504-0008

3 PRA RECEIVABLES MANAGEMENT LLC
PO BOX 41021
NORFOLK VA 23541~1021

6 CHEX SYSTEMS

7805 HUDSON RD STE 100
ATTN- CUSTOMER RELATIONS
SAINT PAUL MN 55125-1703

9 CRAIG OLMSTEAD
234 OFFICE PARK AVE
GULF SHORES AL 36542-3432

12 DEPARTMENT OF THE TREASURY
PO BOX 830794
BIRMINGHAM AL 35283-0794

15 EQUIFAX DISPUTES
PO BOX 740255
ATLANTA GA 30374-0256

18 GULF WINDS FEDERAL CREDIT UNION
220 EAST NINE MILE ROAD
PENSACOLA FL 32534~3145

21 NATIONSTAR MORTGAGE
PO BOX 619063
DALLAS TX 75261-9063

24 SMALL BUSINESS ADMINISTRATION
ST LOUIS DISTRICT OFFICE

1222 SPRUCE ST

ST 10103

SAINT LOUIS MO 63103-2815

27 UNITED STATES ATTORNEY GENERAL
OF THE NORTHERN DISTRICT OF FL
111 N ADAMS ST

4TH FLOOR

TALLAHASSEE FL 32301-7730

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PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SBRVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED BLECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

28 UNITED STATES ATTORNEYS OFFICE 29 UNITED STATES DISTRICT COURT 30 UNITED STATES TRUSTEE
NORTHERN DISTRICT OF FLORIDA NORTHERN DISTRICT OF FLORIDA 110 E PARK AVENUE
PENSACOLA DIVISION 1 N PALAFOX ST SUITE 128

21 E GARDEN ST STE 400 14-CV-00565-RV-CJK TALLAHASSEE FL 32301-7728
PENSACOLA FL 32502-5675 PENSACOLA FL 32502-5665

31 WHITNEY BANK A MISSISSIPPI STATE 32 JYOTIBEN H PATEL 33 MARTIN S LEWIS
CHARTERED BANK FORMERL¥ KNOWN AS 8837 HWY 87 SOUTH LEWIS JURNOVOY PA
HANCOCK BANK MILTON FL 32583-7530 1100 NORTH PALAFOX ST
2510 14TH ST PENSACOLA FL 32501-2608

GULFPORT MS 39501~1948

DEBTOR
34 MARY W COLON 35 PANKAJ L PATEL 36 STEVEN D JURNOVOY
PO BOX 14596 8037 HWY 87 SOUTH LEWIS JURNOVOY PA
TALLAHASSEE FL 32317-4596 MILTON FL 32583-7530 1100 NORTH PALAFOX STREET

PENSACOLA FL 32501-2608

